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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 MARJORIE M. GILLESPIE, et al.,                       No. 3:15-CV-00950

              Plaintiffs,                             (Chief Judge Brann)

       v.

 LORI DRING and NANCY ASARO,

              Defendants.

                            MEMORANDUM OPINION

                                  OCTOBER 27, 2021

      Pending before the Court is Plaintiffs’ motion for relief from judgment under

Federal Rule of Civil Procedure 60. Because this Court can exercise its power to

dismiss a nondiverse party and maintain jurisdiction, their motion is denied.

I.    FACTUAL AND PROCEDURAL BACKGROUND

      For decades, the parties have fought over property rights along the western

shore of Lake Ariel, located in Wayne County, Pennsylvania. This action, which

has been litigated for more than six years, is simply the latest in a series of

disputes. Plaintiffs are 117 individual property owners. Defendants Lori Dring

and Nancy Asaro are two siblings who own a strip of land less than three feet wide

(the “West Shore Strip”), that runs between Plaintiffs’ properties and the lake

itself. In other words, Plaintiffs cannot access Lake Ariel without either crossing

over the West Shore Strip or going around it.
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       In past litigation, the parties entered into a settlement. Then, Plaintiffs

alleged that Defendants failed to grant them an easement as required by the earlier

settlement agreement. Thus, they sued for breach of contract and sought a

prescriptive easement over the West Shore Strip.

       My late colleague, the Honorable A. Richard Caputo, was initially assigned

the matter. In 2018 and 2019, Judge Caputo entered judgments in favor of

Defendants and closed the case.1 Plaintiffs took their appeals to the United States

Court of Appeals for the Third Circuit.2

       At some point during the pendency of the appeals, Plaintiffs retained

additional counsel. It appears that during counsel’s review of the record, they

realized that this Court may never have had subject-matter jurisdiction over the

case because one of the Plaintiffs was not diverse from Defendants. Therefore, in

October 2020, Plaintiffs filed a motion for relief from judgment under Rule 60,

arguing that all of Judge Caputo’s rulings are void as a matter of law.3 Plaintiffs

have come to this Court asking me to effectively unwind the last six years of

litigation and dismiss the matter in its entirety.




1
    Specifically, Judge Caputo granted Defendants’ motion for summary judgment and granted in
    part and denied in part their application for attorneys’ fees and costs.
2
    The matter was reassigned to me in March 2020, after Judge Caputo’s death.
3
    At around the same time, Plaintiffs asked the Third Circuit to stay the pending appeals until
    this Rule 60 motion was resolved. The Court of Appeals initially denied that request but
    reconsidered upon motion by Plaintiffs.
                                                 -2-
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         The Court received papers from the parties, and then asked for supplemental

briefing. The parties also appeared for oral argument on the motion in July 2021.

After argument, I issued a statement pursuant to Rule 62.1, informing the parties

and the Court of Appeals that the pending motion raised a substantial issue. I

further noted that this Court stood ready to resolve the motion should the Court of

Appeals remand for that purpose. On October 13, 2021 the Third Circuit

remanded the matter for the limited purpose of resolving the Rule 60(b) motion,

and that motion is now properly before this Court.

         While there may not have been subject-matter jurisdiction at the

commencement of this lawsuit as required by the time-of-filing rule, I will exercise

this Court’s power to dismiss the nondiverse party from the action and preserve

jurisdiction.

II.      DISCUSSION

         Federal courts have limited jurisdiction, and Federal Rule of Civil Procedure

60 lets a party seek relief from a final judgment, order, or proceeding made in the

absence or excess of that jurisdiction.4 The rule provides that “[o]n motion and



4
      See, e.g., Farm Credit Bank of Baltimore v. Ferrera-Goitia, 316 F.3d 62, 67 (1st Cir. 2003)
      (“There are only two sets of circumstances in which a judgment is void (as opposed to
      voidable). The first is when the rendering court lacked either subject matter jurisdiction or
      jurisdiction over the defendant’s person. The second is when the rendering court’s actions so
      far exceeded a proper exercise of judicial power that a violation of the Due Process Clause
      results.”) (internal citations omitted); Alston v. Kean University, 604 Fed. Appx. 216, 217 (3d
      Cir. 2015 (“A judgment may be void if the court that rendered it lacked jurisdiction over the
      subject matter or the parties, or entered a decree which was not within the powers granted to it
      by law.”).
                                                    -3-
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just terms, the court may relieve a party or its legal representative from a final

judgment, order, or proceeding for the following reasons. . . (4) the judgment is

void . . .” The Court must relieve a party from a judgment if that judgment is void,

because a “void judgment is a legal nullity.”5 As the parties both note, a judgment

is void when a court lacked subject-matter jurisdiction over the case.6

       Although the use of the word “may” in the rule suggests that relief is not

mandatory, case law has repeatedly established that courts do not have any

discretion when it comes to relief from void judgments.7 And there is no time limit

for a party to file a motion under Rule 60(b)(4). A party never waives or loses the

right to challenge whether subject-matter jurisdiction exists; subject-matter

jurisdiction may even be “challenged for the first time on appeal.”8 That keeps

with the logic of subject-matter jurisdiction more broadly, because “no passage of

time can transmute a nullity into a binding judgment.”9

       In short, Plaintiffs’ argument is that when this action was filed, the Court did

not have jurisdiction over the case because complete diversity did not exist.

Therefore, Plaintiffs say, the judgments entered against them are void and the



5
    United Student Aid Funds, Inc. v. Espinosa, 559 U.S. 260, 270 (2010).
6
    See, e.g., Elliott v. Peirsol’s Lessee, 26 U.S. 328, 340 (1828) (explaining that judgments
    entered without subject-matter jurisdiction “are not voidable, but simply void”).
7
    See 11 Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 2862 (3d
    ed.) (“There is no question of discretion on the part of the court when a motion is under Rule
    60(b)(4).”).
8
    In re Kaiser Grp. Int’l Inc., 399 F.3d 558, 565 (3d Cir. 2005).
9
    U.S. v. One Toshiba Color Television, 213 F.3d 147, 157 (3d Cir. 2000).
                                                -4-
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matter must be dismissed. Defendants acknowledge that diversity did not exist at

the start of the suit but point out that it did by the time an amended complaint was

filed, and the Court should calculate diversity as of that date. They also argue that

even if diversity does not currently exist, this Court can dismiss the diversity-

destroying party and preserve the last six years of litigation.

        A.      Diversity Jurisdiction Generally

        “The principal federal statute governing diversity jurisdiction, 28 U.S.C. §

1332, gives federal district courts original jurisdiction of all civil actions between

... citizens of different States where the amount in controversy exceeds $75,000.”10

The amount in controversy requirement is not in question here; instead, the issue

before the Court deals with the diversity of citizenship requirement. For “over two

hundred years,” courts have interpreted the statute to demand complete diversity.11

If any plaintiff and any defendant are citizens of the same state, diversity is

incomplete and a federal court does not have jurisdiction.12

        B.      The Relevant Diversity Facts

        The parties agree that when this action was filed, one of the plaintiffs –

Robert J. Clauss – was a citizen of New Jersey. Dring and Asaro were also




10
     Lincoln Ben. Life. Co. v. AEI Life, LLC, 800 F.3d 99, 104 (3d Cir. 2015) (internal quotation
     marks omitted).
11
     Id.
12
     Assuming the claim is brought under 28 U.S.C. § 1332 and does not otherwise invoke federal
     question jurisdiction.
                                               -5-
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citizens of New Jersey. Thus, complete diversity did not exist when the suit began

in May 2015.

        Within the first few months of litigation, Defendants Dring and Asaro

moved to dismiss.13 Judge Caputo granted that motion in part but allowed

Plaintiffs to file a second complaint.14 They filed in November 2015.15 As fate

would have it, by the time Plaintiffs filed that second complaint, Clauss had

become a citizen of Pennsylvania.

        This is where Defendants’ first argument comes into play. While they

acknowledge that diversity was lacking at the commencement of the action,

Defendants ask the Court to assess diversity jurisdiction as of the filing date of the

second complaint.

        Now, a moment to discuss the somewhat unusual posture of this motion.

More often, it is a plaintiff who seeks to invoke the Court’s jurisdiction, and a

defendant who tries to point out any defects. But here, it is the Plaintiffs who have

brought the issue of diversity to my attention, and the Defendants who aim to

preserve jurisdiction and Judge Caputo’s rulings. It is not lost on the Court that

finding no subject-matter jurisdiction would result in unwinding more than a half-

decade of litigation and substantial investments of time and money. Yet that




13
     Doc. 6.
14
     Doc. 16.
15
     Doc. 22.
                                         -6-
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concern is secondary to the issue of whether this Court has the constitutional

authority to hear the matter at all.

        The first question before the Court, then, is whether diversity jurisdiction is

measured from the time the action is brought, or if it is evaluated as of the date the

operative pleading was filed. If diversity is assessed based on the filing of the

action, this Court does not have subject-matter jurisdiction. If diversity is based on

the second complaint, then it does.

        C.     The Filing of the Action Establishes Diversity for the Purpose of
               Subject-Matter Jurisdiction

        The general principles of diversity jurisdiction follow a well-traveled path.

“It has long been the case that the jurisdiction of the court depends upon the state

of things at the time of the action brought.”16 Using the “time-of-filing” rule, a

Court “measures all challenges to subject-matter jurisdiction premised upon

diversity of citizenship against the state of facts that existed at the time of filing.”17

This rule has “a pedigree of almost two centuries.”18

        A straightforward application of the time-of-filing rule dictates that diversity

is assessed by the state of the world at the time the action is commenced. The

parties agree that when the action was filed, complete diversity did not exist. So

this Court did not have subject-matter jurisdiction over the action. But Defendants


16
     Grupo Dataflux v. Atlas Glob. Grp., L.P., 541 U.S. 567, 570 (2004) (quoting Mollan v.
     Torrance, 22 U.S. 537, 539 (1824)) (internal quotation marks omitted)
17
     Id. at 571.
18
     Id. at 582.
                                               -7-
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point out the fact that by the time the second complaint was filed, Clauss had

become a citizen of Pennsylvania. Thus, they ask the Court to evaluate diversity

jurisdiction as of the day the second complaint was filed.

        Defendants claim that the Supreme Court of the United States has “long

recognized” that “untimely compliance” with the requirement of complete

diversity can be sufficient.19 Citing Grupo Dataflux v. Atlas Global Group, L.P.

for this proposition, they fail to mention that this language comes from the

dissenting opinion, not the majority. And the cases Defendants cite to in support

of this argument are readily distinguishable because some do not deal specifically

with the jurisdictional defect of diversity,20 and because others simply

acknowledge one of the long-established exceptions to the time-of-filing rule.21 As

the majority in Grupo noted, the cases cited by the dissent in that case (the same

ones cited by Defendants here) all “involved a change of party.”22 The dissent in

Grupo did not identify “a single case in which the Court held that a single party’s

postfiling change of citizenship cured a previously existing jurisdictional defect.”23

Neither have Defendants.



19
     Doc. 161 at 19.
20
     See, e.g., Caterpillar Inc. v. Lewis, 519 U.S. 61 (1996) (addressing the implication of failure
     to comply with the statutory requirements of the removal statute).
21
     See, e.g., Newman-Green, Inc. v. Alfonzo-Larrain, 490 U.S. 826, 827 (1989) (holding that “a
     court of appeals may grant a motion to dismiss a dispensable party whose presence spoils
     statutory diversity jurisdiction”).
22
     Grupo, 541 U.S. at 575 n.5.
23
     Id.
                                                 -8-
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        Defendants rely heavily on the Supreme Court’s statement in Rockwell

Intern. Corp. v. United States, that “when a plaintiff files a complaint in federal

court and then voluntarily amends the complaint, courts look to the amended

complaint to determine jurisdiction.”24 But Rockwell was a case that involved the

False Claims Act and thus federal question jurisdiction. And since Grupo and

Rockwell were decided, many courts have made that difference key. The time-of-

filing rule plays an especially prominent role in diversity jurisdiction cases, as

several circuits have acknowledged in recent years:

         The time-of-filing rule “was developed [] in cases where diversity

            jurisdiction is the only basis for federal subject matter jurisdiction. In

            such cases, the rule plays a vital role: if diversity of citizenship did not

            exist when the action was filed, federal court jurisdiction over the case

            would never have attached, and for a federal court to take any action in

            the case would be ‘an unconstitutional usurpation of state judicial

            power.’”25

         “The time-of-filing rule is a judge-made doctrine, supported in the

            diversity context by sound policy considerations. In diversity cases,

            litigants are free to move between the states; no court may enjoin a civil

            litigant from changing her citizenship solely because she filed a

24
     549 U.S. 457, 473-74 (2007).
25
     Wright v. Musanti, 887 F.3d 577, 584 (2d Cir. 2018) (quoting 13 Charles Alan Wright & Arthur
     R. Miller, Federal Practice and Procedure § 3522 (3d ed.)).
                                               -9-
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            complaint in federal court or had the misfortune to be sued. Thus,

            reassessing diversity jurisdiction after a complaint is filed and served

            would waste judicial resources and encourage manipulation.”26

         “The letter and spirit of the rule apply most obviously in diversity cases,

            where the rule originated, and where heightened concerns about forum-

            shopping and strategic behavior offer special justifications for it.”27

Case law is replete with courts following the instruction that diversity is

determined as of the date that the action was filed, not any other date. The Third

Circuit has acknowledged the same repeatedly.28

        Admittedly, the introduction of a new complaint does complicate the matter

somewhat, because courts have recognized that a new pleading (whether amended

or supplemental) can sometimes cure defective allegations in an earlier one.29 But

these cases simply do not deal with diversity of citizenship; they address other



26
     Iowa Tribe of Kansas and Nebraska v. Salazar, 607 F.3d 1225, 1233 (10th Cir. 2010) (internal
     citations omitted).
27
     Connectu LLC v. Zuckerberg, 522 F.3d 82, 92 (1st Cir. 2008) (internal citations omitted).
28
     See, e.g., Lincoln Ben. Life. Co. v. AEI Life, LLC, 800 F.3d 99, 104 n.9 (3d Cir. 2015)
     (“Although challenges to subject-matter jurisdiction may be raised at any time, whether
     diversity exists is determined by the citizenship of the parties at the time the action is filed.”)
     (emphasis added). See also Strausbaugh v. Greentree Servicing LLC, --- Fed. Appx. ---, 2021
     WL 2103602 (3d Cir. 2021) (“For diversity jurisdiction to lie, the plaintiff cannot, at the time
     the action is filed, be a citizen of the same state as any of the defendants.”).
29
     See, e.g., T Mobile Ne. LLC v. City of Wilmington, 913 F.3d 311 (3d Cir. 2019) (addressing
     ripeness); Northstar Fin. Advisors Inc. v. Schwab Invs., 779 F.3d 1036 (9th Cir. 2015)
     (addressing federal-question jurisdiction and standing); see also G&E Real Estate, Inc. v.
     Avison Young-Washington, D.C., LLC, 168 F. Supp. 3d 147 (D.D.C. 2016). While G&E was
     a diversity jurisdiction case, neither diversity of citizenship nor the amount in controversy were
     at issue; instead, the district court assessed which complaint standing should be based on.
                                                   - 10 -
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issues of subject-matter jurisdiction, such as federal question jurisdiction and

Article III justiciability doctrines.30 The Supreme Court has been clear that with

few exceptions, diversity is measured from the date of the filing of the action, not

of the operative pleading, and lower courts have followed suit.31 Defendants have

not identified a single case on point that supports their position, while this Court

has reviewed a number that undercut their argument.

        In various districts, trial courts have repeatedly affirmed that a party’s “post-

filing change in citizenship” cannot “cure a lack of subject-matter jurisdiction that

existed at the time of filing in an action premised upon diversity of citizenship.”32

For example, in a recent Eastern District of Missouri case involving “a change in

citizenship by an original party after commencement but before amendment in a

diversity jurisdiction case,” the court held that the parties were “bound by their

citizenship as it existed at the commencement of the case” and found no subject-

matter jurisdiction. 33 That is what we have here. Clauss changed citizenship after

the action was filed but before the complaint was amended. Those facts cannot


30
     See, e.g., Connectu LLC v. Zuckerberg, 522 F.3d 82, 92 (1st Cir. 2008) (“[C]ourts have been
     careful not to import the time-of-filing rule indiscriminately into the federal question realm.”).
31
     See, e.g., Chevaldina v. Katz, 787 Fed. Appx. 651, 652 (11th Cir. 2019) (“Chevaldina’s second
     amended complaint alleged she was domiciled in Indiana and a citizen of Indiana at the time
     she filed the second amended complaint, but did not affirmatively allege she was domiciled in
     Indiana at the commencement of the action. Because diversity of citizenship must exist at the
     time an action is filed in order to be proper and events occurring after the filing of an action
     cannot create or destroy diversity jurisdiction, the district court did not err in dismissing
     Chevaldina's second amended complaint.”).
32
     Grupo Dataflux v. Atlas Glob. Grp., L.P., 541 U.S. 567, 568 (2004).
33
     SEMO Servs., Inc. v. BNSF Ry. Co., 2020 WL 2104755 at *4 (E.D. Mo. May 1, 2020)
     (emphasis in original).
                                                  - 11 -
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support diversity jurisdiction, and the holding in SEMO was not an outlier. Rather,

the findings in other cases also line up with the dictates of the Supreme Court and

the Third Circuit.34

        Defendants’ argument further fails both because the absence of relevant case

law in their briefs speaks loudly and because the policy implications of requiring a

court to reassess diversity with every iteration of a complaint are undesirable.35

The Court recognizes that some of the policy rationales behind the time-of-filing

rule are not necessarily at play in the instant action, and that Plaintiffs are currently

benefiting from a jurisdictional defect of their own making. While admittedly,

almost every rule is susceptible to some amount of gamesmanship by litigants, “the

policy goal of minimizing litigation over jurisdiction is thwarted whenever a new

exception to the time-of-filing rule is announced.”36


34
     See Reyes v. Sprint Holdings, LLC, 2018 WL 3369672 at *4 (E.D. N.Y. July 9, 2018) (“Plaintiff
     alleges in the Amended Complaint that he is now a citizen of South Carolina. Even if true,
     domicile is determined at the time of the filing of the original Complaint.”); Williams v. Cost-
     U-Less, Inc., 2013 WL 1901393 at *3 (D. V.I. May 8, 2013) (“As Plaintiff has acknowledged
     and the Court has found, Defendant Ramsey’s citizenship in the Virgin Islands at the time the
     original Complaint was filed defeated diversity jurisdiction. Even if Plaintiff plans to file a
     Second Amended Complaint, Plaintiff has not demonstrated to the satisfaction of the Court . .
     . how he would overcome that jurisdictional obstacle.”); BI3, Inc. v. Hamor, 2011 WL 5023394
     at *5 (N.D. Ill. Oct. 20, 2011) (rejecting defendants’ argument that “the time-of-filing rule does
     not salvage diversity jurisdiction for the plaintiffs’ amended complaint because [] complete
     diversity disappeared before they filed the amended complaint,” because this “novel
     construction of the time-of[-]filing rule would require a court to reassess diversity jurisdiction
     every time an amended complaint is filed in a diversity suit.”).
35
     See BI3, Inc., 2011 WL 5023394 at *5.
36
     Grupo Dataflux v. Atlas Glob. Grp., L.P., 541 U.S. 567, 580-81 (2004). See also Rodriguez-
     Diaz v. Sierra-Martinez, 853 F.2d 1027, 1029 (1st Cir. 1988) (“It is the domicile at the time
     suit is filed which controls, and the fact that the plaintiff has changed his domicile with the
     purpose of bringing a diversity action in federal court is irrelevant.”); Peterson v. Allcity Ins.
     Co., 472 F.2d 71, 74 (2d Cir. 1972) (“So long as she intended to make North Carolina her home
                                                  - 12 -
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        Nor does relation-back help Defendants as much as they think.37 The Third

Circuit has repeatedly instructed that relation-back “may be used to cure defects in

jurisdictional allegations.”38 But the problem is not that the allegations are

defective, insofar as diversity is concerned. The facts themselves are defective.

Clauss was a citizen of New Jersey when the action was filed. Relation-back

would allow a party to plead that diversity existed, but it would need to show that

diversity existed at the time the action was filed, because jurisdiction is based on

the state of the world on that date. 39 This is true whether or not there is a second

or third complaint filed that will control the claims of the litigation.

        The Supreme Court has made clear its dedication “to the time-of-filing rule

regardless of the costs it imposes,” such that this Court must act accordingly.40

There is no diversity jurisdiction because when the action was filed, Clauss was

not diverse from Dring and Asaro.



     at the time she moved there and had no intention then of moving elsewhere, her motive in
     moving, even if for jurisdictional purposes, is not our concern.”).
37
     See, e.g., LeBlanc v. Cleveland, 248 F.3d 95, 99-100 (2d Cir. 2001) (“We hold that an
     amendment to allege diversity jurisdiction relates back under Rule 15 of the Federal Rules of
     Civil Procedure, and therefore we assess [the plaintiff’s] citizenship at the time the complaint
     was first filed.”).
38
     T Mobile Ne. LLC v. City of Wilmington, 913 F.3d 311, 328 (3d Cir. 2019).
39
     See Schiano v. MBNA, 2019 WL 3562090 at *1 (D.N.J. Aug. 6, 2019) (“Diversity jurisdiction
     must have been present at the time of filing of the case.”); Archer v. Nichols, 2019 WL
     3308243 at *5 (M.D. Fla. Mar. 6, 2019) (“Archer’s allegation in his Response and Motion to
     Amend that he is a citizen of California—more than two years after the case was initiated—
     does not inform the Court of Archer’s citizenship at the time he filed the first complaint on
     October 31, 2016.”); Dumann Realty, LLC v. Faust, 2012 WL 6135020 at *1 (S.D. N.Y. Dec.
     6, 2012) (“Thus, Plaintiffs must enumerate every Member of the LLC as of the original date
     of this action's filing . . .”).
40
     Grupo, 541 U.S. at 571.
                                                - 13 -
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         D.    The Court Will Dismiss Clauss from the Action to Preserve
               Diversity Jurisdiction

         At this point, the Court has no subject-matter jurisdiction; I must dismiss the

action in its entirety unless some exception to the time-of-filing rule applies.

Defendants suggest that one does. They ask the Court to dismiss Clauss, the party

that destroyed diversity. Federal Rule of Civil Procedure 21 provides that on

“motion or on its own, the court may at any time, on just terms, add or drop a

party.” Rule 21 “invests district courts with authority to allow a dispensable

nondiverse party to be dropped at any time, even after judgment has been

rendered.”41 This “method of curing a jurisdictional defect ha[s] long been an

exception to the time-of-filing rule.”42 “A district court has broad discretion in

deciding whether to sever a party pursuant to Federal Rule of Civil Procedure

21.”43

         “Although the district court’s authority to dismiss non-diverse parties who

are not indispensable derives” from Rule 21, “the primary factors to be considered

by the district court in determining whether a party is indispensable are listed in”

Rule 19.44 Under the Rule 19 analysis, a Court first determines whether a party is

“necessary” as conceived by Rule 19(a). That part of the rule states:



41
     Newman-Green, Inc. v. Alfonzo-Larrain, 490 U.S. 826, 832 (1989).
42
     Grupo, 541 U.S. at 572.
43
     Slater v. Hoffman-La Roche Inc., 771 F. Supp. 2d 524, 529 (E.D. Pa. 2011).
44
     Field v. Volkswagenwerk AG, 626 F.2d 293, 297 (3d Cir. 1980) (disagreed with on other
     grounds by Newman-Green, Inc. v. Alfonzo-Larrain, 490 U.S. 826 (1989)).
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       A person who is subject to service of process and whose joinder will
       not deprive the court of subject-matter jurisdiction must be joined as a
       party if:
              (A) in that person’s absence, the court cannot accord complete
              relief among existing parties; or
              (B) that person claims an interest relating to the subject of the
              action and is so situated that disposing of the action in the
              person’s absence may:
                     (i) as a practical matter impair or impede the person’s
                     ability to protect the interest; or
                     (ii) leave an existing party subject to a substantial risk of
                     incurring double, multiple, or otherwise inconsistent
                     obligations because of the interest.

       If the party is necessary, then the Court must ask whether the party is also

“indispensable” under Rule 19(b), which further provides:

       If a person who is required to be joined if feasible cannot be joined,
       the court must determine whether, in equity and good conscience, the
       action should proceed among the existing parties or should be
       dismissed. The factors for the court to consider include:
              (1) the extent to which a judgment rendered in the person’s
              absence might prejudice that person or the existing parties;
              (2) the extent to which any prejudice could be lessened or
              avoided by:
                     (A) protective provisions in the judgment;
                     (B) shaping the relief; or
                     (C) other measures;
              (3) whether a judgment rendered in the person’s absence would
              be adequate; and
              (4) whether the plaintiff would have an adequate remedy if the
              action were dismissed for nonjoinder.

If Clauss is necessary and indispensable, the Court cannot dismiss him, which will

result in the absence of subject-matter jurisdiction and the dismissal of the case in

its entirety.



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                1.      Rule 19(a) Analysis

        Plaintiffs note that “[g]enerally, in breach of contract actions, all parties to

the contract should be joined.”45 But as counsel for Plaintiffs acknowledged

during oral argument, there does not appear to be any per se rule mandating joinder

of all parties to a contract.46 Instead, this Court must analyze the Rule 19 factors to

determine whether dismissing Clauss is appropriate.47 This inquiry must be

conducted with sensitivity to the notion that “considerations of efficiency, fairness,

and judicial economy weigh against a wholesale dismissal of the action at this

stage.”48 Rule 19(a)(1) is written in the disjunctive. Thus, if either subsection is

met, Clauss is a necessary party.

        Beginning with Rule 19(a)(1)(A), I consider whether the Court could grant

appropriate and complete relief to the remaining parties without Clauss. It seems

clear that the judgments entered by Judge Caputo would certainly be complete

among the remaining parties if I dismiss Clauss. Counsel for Plaintiff




45
     Rashid v. Kite, 957 F. Supp. 70, 74 (E.D. Pa. 1997).
46
     Although Plaintiffs’ reply brief suggested that they were arguing for a per se rule, counsel
     disclaimed that theory during argument. See Hr’g Tr. 42:19-43:4 (Doc. 170).
47
     See Wheaton v. Diversified Energy, LLC, 215 F.R.D. 487, 491 (E.D. Pa. 2003) (“There is no
     hard and fast rule that requires all parties to a contract to be joined as parties in a breach of
     contract suit that is before a federal court sitting in diversity.”); see also Saddler v. AMEC
     Foster Wheeler Env't & Infrastructure, Inc., 253 F.Supp.3d 210, 218 (D.D.C. 2017) (noting
     that Rule 19 “does not require joinder merely because a case calls for interpretation of an
     agreement to which a non-party is a signatory”).
48
     Zambelli Fireworks Mfg. Co., Inc. v. Wood, 592 F.3d 412, 420-21 (3d Cir. 2010) (citing
     Caterpillar Inc. v. Lewis, 519 U.S. 61, 75 (1996)).
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acknowledged the same during oral argument.49 Therefore, this cannot support a

finding that Clauss is a necessary party.

        Next, I ask whether dismissing Clauss might either: (1) impair his ability to

protect his interest in the claims; or (2) leave an existing party subject to a

“substantial risk of incurring double, multiple, or otherwise inconsistent

obligations because of the interest.”50 Here, the Court must “take into

consideration the effect that resolution of the dispute among those parties before it

may have on any absent parties.”51

        First, it seems unlikely that Clauss would somehow be impaired by

dismissal. Plaintiffs assert that adjudication absent Clauss would impair his ability

to protect his interests but were not able to identify any specific preclusive effect

that a judgment in this case would have on Clauss. Plaintiffs’ brief does not deeply

engage with this factor, beyond saying that “Mr. Clauss has a strong interest in

obtaining a final adjudication” on the claims asserted.52 The only argument for

preclusion was raised during oral argument and quickly abandoned by Plaintiffs.

        But even if they had identified some vague possibility of preclusion, the

Third Circuit has explained that the “[m]ere presentation of an argument that issue



49
     Hr’g Tr. 46:5-46:9 (The Court: We look at Rule 19(a)(1)(A). Why wouldn’t the relief ordered
     be complete among the remaining parties if I did sever [Clauss]? Mr. Vanaskie: I think the
     relief ordered would be completed among the remaining parties if you did sever Clauss.).
50
     Fed. R. Civ. P. 19(a)(1)(B).
51
     Gen. Refractories Co. v. First State Ins. Co., 500 F.3d 306, 316 (3d Cir. 2007).
52
     Doc. 162 at 10.
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preclusion is possible is not enough to trigger” Rule 19.53 Instead, “it must be

shown that some outcome of the federal case that is reasonably likely can preclude

the absent party with respect to an issue material to the absent party’s rights or

duties under standard principles governing the effect of prior judgments.”54 There

has been no real showing that Clauss would be precluded from raising any

arguments in a subsequent action.55

        Additionally, I consider whether dismissing Clauss might leave an existing

party – the remaining Plaintiffs or the Defendants – subject to a “substantial risk of

incurring double, multiple, or otherwise inconsistent obligations because of the

interest.”56 In both briefing and argument, Plaintiffs spoke of the possibility of

inconsistent judgments, but there is a difference between inconsistent obligations

and inconsistent judgments or decisions.57 The “possibility of a subsequent

adjudication that may result in a judgment that is inconsistent as a matter of logic”



53
     Janney Montgomery Scott, Inc. v. Shepard Niles, Inc., 11 F.3d 399, 409 (3d Cir. 1993).
54
     Id.
55
     And insofar as the judgment in this action might be considered “persuasive precedent,” the
     Third Circuit has repeatedly rejected the argument that such a ruling impairs a party’s ability
     to protect its interests. See General Refractories Co., 500 F.3d at 317 (citing Janney, 11 F.3d
     at 406). So to the extent Rule 19’s phrasing encompasses anything broader than “principles of
     issue preclusion,” such persuasive precedent does not require joinder. Janney, 11 F.3d at 407.
56
     Fed. R. Civ. P. 19(a)(1)(B)(ii) (emphasis added). Because of the way Rule 19 is set up, it is
     unclear whether the Court should consider Clauss an existing party for the purpose of this
     analysis, such that I must evaluate any prejudice to Clauss under this subsection. In any event,
     potential prejudice to Clauss is analyzed under Rule 19(b).
57
     See Hr’g Tr. 44:23-45:5 (“So would he be better off not having a $282,000 attorney’s fee award
     against him? Yes. He would be better off if he didn’t have that fees award against him. But he
     faces the risk of an inconsistent decision. He’s got to go back to state court, litigate on his own.
     The State Court could agree or disagree with Judge Caputo’s holding on the release question,
     for example, and that would be direct prejudice to him.”).
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does not, on its own, “trigger the application of Rule 19.”58 Rule 19 “protects

against inconsistent obligations, not inconsistent adjudications; under the Rule a

person is protected against situations in which there would be two court orders and

compliance with one might breach the other.”59

        Dismissing Clauss from this action would not prejudice the other Plaintiffs.

Their obligations are independent from his, and their compliance with whatever

court order is eventually finalized in this matter likely could not violate whatever

court order Clauss might eventually be bound by. Nor would they be otherwise

prejudiced by Clauss going off on his own.60 Likewise, the Court considers

whether any risk of multiple or inconsistent obligations to the Defendants warrants

dismissing the action in its entirety. I find that it does not. Defendants note that

they are perfectly willing to take on that risk.61 As such, there is no reason for the

Court to put its thumb on the scale for this factor.62


58
     Field v. Volkswagenwerk AG, 626 F.2d 293, 301-02 (3d Cir. 1980) (disagreed with on other
     grounds by Newman-Green, Inc. v. Alfonzo-Larrain, 490 U.S. 826 (1989)).
59
     Micheel v. Haralson, 586 F. Supp. 169, 171 (E.D. Pa. 1983).
60
     Of course, if Clauss is dismissed and the matter remains live pending appeal, Plaintiffs would
     not receive an automatic do-over in this litigation, but that cannot be the sort of prejudice this
     Court considers.
61
     See Doc. 161 at 18 (“The only party that may be exposed to the risk of multiple or inconsistent
     obligations is Asaro/Dring, and they are well within their rights to accept this risk, knowingly,
     as they would do here, to preserve two decades of litigation and expense.”).
62
     See, e.g., CP Sols. PTE, Ltd. v. Gen. Elec. Co., 553 F.3d 156, 159 (2d Cir. 2009) (“Whatever
     prejudice to CP Solutions there might be, it is prejudice the plaintiff is willing to bear and
     therefore should not have troubled the district court.”). The United States Court of Appeals
     for the Second Circuit discussed prejudice under Rule 19(b), but courts have repeatedly
     recognized that the analysis of the first 19(b) factor overlaps significantly with the 19(a)
     analysis. See Gen. Refractories Co. v. First State Ins. Co., 500 F.3d 306, 320 (3d Cir. 2010)
     (quoting Gardiner v. Virgin Islands Water & Power Auth., 145 F.3d 635, 641 n.4 (3d Cir.
     1998)).
                                                 - 19 -
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        Having reviewed the factors under Rule 19(a), it does not appear that Clauss

is necessary to this action. But admittedly, Rule 19(a)(1)(B) does not impose a

necessary level of certainty; it is enough that dismissal may impact Clauss’s ability

to protect his interests or may leave an existing party subject to inconsistent

obligations.63 Therefore, to be sure, I turn to the next step of the analysis –

whether Clauss is indispensable under Rule 19(b).

                2.      Rule 19(b) Analysis

        The Rule 19(b) test requires the Court to decide whether, through the lens of

“equity and good conscience,” the action should proceed without Clauss or be

dismissed. Turning to the first factor, and as previously noted, it is unclear

whether any true prejudice would come to Clauss, the other Plaintiffs, or the

Defendants from dismissing Clauss.64 Plaintiffs assert that when any preclusion

principles would impair a party’s interests, they should be considered

indispensable.65 But again, Plaintiffs have not shown that Clauss would be

precluded in subsequent litigation. Their briefing says little else about this factor,

and the Court otherwise sees minimal risk of prejudice to Clauss.

        Clauss would need to relitigate his claims, true, but that does not appear to

prejudice him. Instead, dismissal would seem to relieve him from what is currently


63
     Rashid v. Kite, 957 F. Supp. 70, 73-74 (E.D. Pa. 1997).
64
     I simply acknowledge again that the first factor under Rule 19(b) “overlaps considerably with
     the Rule 19(a) analysis,” insofar as it considers the prejudice to the parties. Gen. Refractories
     Co. v. First State Ins. Co., 500 F.3d 306, 320 (3d Cir. 2010).
65
     Doc. 162 at 11-12.
                                                 - 20 -
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a bill approximating $280,000 in attorneys’ fees.66 And while counsel for

Plaintiffs suggested during argument that Judge Caputo made some rulings

favorable to Clauss and the other Plaintiffs, it is clear to this Court that on balance,

Judge Caputo’s holdings benefited Defendants more.67 If and when Clauss

relitigates, he will either win (in which case he will be in a better position) or he

will lose again (and be in a similar position to the other Defendants).

        And while Plaintiffs assert that inconsistent holdings might prejudice Clauss,

it is unclear that this is even the sort of prejudice that Rule 19 contemplates.

Again, inconsistent holdings alone are not sufficient to support a finding that a

party is indispensable. As the Eastern District of Pennsylvania noted in Micheel v.

Haralson, Rule 19 does not mandate joinder of a party simply due to the possibility

of “diverse holdings.”68 Otherwise, the distinction between Rule 19 and Rule 20’s

permissive joinder would collapse.69 Particularly given the independent nature of

the claims brought by the various Plaintiffs, there does not seem to be any risk to

Clauss that he would suffer any inconsistent obligations as related to his own

claims. He would simply be dismissed from this action and free to pursue his

interests as he chooses.


66
     The Court acknowledges that the matter is currently on appeal and that Clauss would be
     unlikely to be responsible for the entirety of that sum. Of course, as a practical matter, Clauss
     is unlikely to pay any of this bill. Either I sever Clauss from the case, or the action must be
     dismissed in its entirety; it seems he will be released from that obligation in both circumstances.
67
     Indeed, Plaintiffs are the parties who appealed Judge Caputo’s holdings.
68
     586 F. Supp. 169, 171 (E.D. Pa. 1983).
69
     Id.
                                                   - 21 -
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        Next, I consider whether the remaining Plaintiffs would be prejudiced by

dismissing Clauss. Although Plaintiffs’ brief does not parse out potential prejudice

as between the individual Plaintiffs, counsel for Plaintiffs has represented that the

only possible prejudice to the other Plaintiffs is the possibility of inconsistent

decisions.70 But again, inconsistent holdings by themselves do not justify

dismissing the action in its entirety. And finally, Defendants have indicated their

willingness to take on whatever risk of inconsistent obligations they may incur, so

the Court will not impede their autonomy in this regard. In sum, the first factor

under Rule 19(b) favors dismissing Clauss because none of the parties stand to

suffer any significant prejudice if he is removed from the litigation.

        Moving to the second factor, the Court has already found that there is no real

prejudice to any of the parties if it severs Clauss. But to the extent there would be

any prejudice, the Court acknowledges that there is no obvious way to lessen or

avoid that prejudice because Clauss would be dismissed, final judgment has

already been entered, and the matter is currently pending appeal. There is little this

Court could do to mitigate any prejudice, if there was any.

        I now consider the third factor: the adequacy of the judgment, absent Clauss.

Plaintiffs claim that “a judgment here absent Mr. Clauss would not be adequate, as



70
     See Hr’g Tr. 45:11-16 (“Mr. Vanaskie: It only prejudices them by the risk of inconsistent
     judgments -- inconsistent decisions because Mr. Clauss would now go to the Court of Common
     Pleas of Wayne County and litigate his claim there. And he could get a result that would be
     different than the result obtained here. That's the only prejudice I see, Your Honor.”).
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‘the most efficient resolution of this contractual dispute would be a single action in

which [contract parties] all are parties.’”71 And it is perhaps true that the most

efficient resolution would be one global action, but Rule 19 asks whether the

judgment would be adequate. It does not necessarily follow that anything other

than the most efficient resolution is inadequate.72 “Rule 19 does not apply merely

because dispute resolution would be more efficient with [Clauss’s] participation.”73

And beyond their somewhat conclusory assertion, Plaintiffs had nothing to say on

this factor.

        The judgment would remain fully in effect as to the remaining Plaintiffs.

That lends some credence to the idea that the judgment would be adequate. This

third Rule 19(b) factor is one where the posture of the motion makes evaluating the

adequacy of any judgment difficult. In most cases, courts are considering whether

dismissing a defendant will allow a plaintiff to make full recovery. But here, the

question is whether dismissing a plaintiff would allow for an adequate judgment

absent that one individual. “Certainly with respect to [all plaintiffs but Clauss], the

court can resolve [their] claim in the present action and this factor weighs” in favor

of dismissing Clauss.74




71
     Doc. 162 at 12 (quoting Rashid v. Kite, 957 F. Supp. 70, 74 (E.D. Pa. 1997)).
72
     Counsel for Plaintiffs acknowledged that the requirement of an “adequate” judgment is not the
     same thing as the “most efficient resolution.” See Hr’g Tr. 46:10-19.
73
     Nanko Shipping, USA v. Alcoa, Inc., 850 F.3d 461, 464-65 (D.C. Cir. 2017).
74
     Gen. Refractories Co. v. First State Ins. Co., 500 F.3d 306, 321 (3d Cir. 2007).
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         And finally, the parties agree that Pennsylvania’s savings statute would

provide an adequate remedy if the action were dismissed.75 This factor therefore

“weighs slightly in favor of dismissing this matter, but not unequivocally.”76 This

consideration is stronger when a Court might worry that dismissal would prevent a

plaintiff from seeking recourse against a defendant in another forum. But here, as

much as all Plaintiffs would have a remedy in state court if the action is dismissed,

so would Clauss himself if he is severed. He will not be time-barred or otherwise

prevented from asserting the same claim independently from the other Plaintiffs.

And in any event, the consideration of the adequate remedy in state court “is far

outweighed by the unfairness [] and the harm to judicial economy resulting from

dismissal.”77 This is especially true, if, as Defendants suggest, Plaintiffs could

simply refile the same lawsuit in this forum because they have maintained diversity

of citizenship from Defendants.78




75
     See 42 Pa. C.S.A. § 5103.
76
     Rashid, 957 F. Supp. at 75.
77
     CP Sols. PTE, Ltd. v. Gen. Elec. Co., 553 F.3d 156, 161 (2d Cir. 2009).
78
     Plaintiffs did not seem to dispute this point in briefing. If all Plaintiffs are still currently diverse
     from the Defendants, the decision becomes even easier. As the Third Circuit has noted,
     considerations of finality, efficiency, and judicial economy are “particularly relevant where . .
     . the contract at the heart of this litigation is between [now] diverse parties who could refile an
     identical suit in the same federal forum.” Zambelli Fireworks Mfg. Co., Inc. v. Wood, 592 F.3d
     412, 421 (3d Cir. 2010). And to the extent one could suggest that, in either event, a court will
     adjudicate one new lawsuit (and that therefore this Court should dismiss the case wholesale),
     it should be clear that from the perspective of conserving judicial resources, managing a case
     between one plaintiff and two defendants is much less onerous than managing a case between
     117 plaintiffs and two defendants, even when the large group of plaintiffs is represented by the
     same attorneys.
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        In equity and good conscience, this matter should proceed on its appeals

without Clauss. There appears to be almost no prejudice to any of the parties –

other than Defendants, who have indicated their willingness to take on that risk –

and “considerations of efficiency, fairness, and judicial economy weigh against a

wholesale dismissal of the action at this stage.”79

III.    CONCLUSION

        Plaintiffs’ motion for relief from judgment is denied. Although this Court

did not have subject-matter jurisdiction when the case began, I will exercise the

Court’s authority to dismiss Mr. Clauss from the case, thereby preserving diversity

of citizenship and subject-matter jurisdiction.

        An appropriate Order follows.

                                                     BY THE COURT:


                                                    s/ Matthew W. Brann
                                                    Matthew W. Brann
                                                    Chief United States District Judge




79
     Zambelli v. Fireworks Mfg. Co., Inc. v. Wood, 592 F.3d 412, 420-21 (3d Cir. 2010).
                                              - 25 -
